Case: 1:19-cv-06670 Document #: 5 Filed: 12/05/19 Page 1 of 2 PagelD #:9

AO 440 (Rev. 05/00) Summons in a Civil Action

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF ILLINOIS

SUMMONS IN A CIVIL CASE
PLUMBERS’ PENSION FUND, LOCAL 130, U.A., PLUMBERS’ WELFARE
FUND, LOCAL 130, U.A., THE TRUST FUND FOR APPRENTICE AND
JOURNEYMAN EDUCATION AND TRAINING, LOCAL 130, U.A.,
PLUMBERS’ RETIREMENT SAVINGS PLAN FUND, LOCAL 130, U.A..
he PL BERS* DEFINED CONTRIBUTION FUND
andthe PLUM CASE NUMBER: 19-cv-06670
V. ASSIGNED JUDGE:

Martha M. Pacold

STARR PLUMBING, INC. DESIGNATED

MAGISTRATE JUDGE: Jeffrey I. Cummings

TO: (Name and address of Defendant)

Starr Plumbing, Inc.

Ms. Laura A. Scatchell, Registered Agent
912 Norwood Dr.

Melrose Park, IL 60160

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY (name and address)

Michael J. Mcguire

Gregorio Marco

2 N. LaSalle Street, Suite 1650
Chicago, IL 60602

an answer to the complaint which is herewith served upon you, 1 days after service of this

summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for

the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.

THOMAS G. BRUTON, CLERK

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October 8, 2019

 

Aas Bee
MRS UE

DATE (By) DEPUTY CLERK

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Case: 1:19-cv-06670 Document #: 5 Filed: 12/05/19 Page 2 of 2 PagelD #:9

FORM BCA-5.25 (rev. Dec. 2014)
AFFIDAVIT OF COMPLIANCE

FOR SERVICE ON SECRETARY OF STATE Fi A fo D

Business Corporation Act

Department of Business Services
501 S. Second St., Rm. 350 NOV 2 7 2019

Springfield, IL 62756
217-782-6961
www.cyberdriveillinois.com

JESSE WHITE
SECRETARY OF STATE

Ay

Approved:

Payment must be made by check or money
order payable to Secretary of State.

EUS%b15]

Submit in duplicate —-———— Type or Print clearly in black ink —-——— Do not write above this line

Filing Fee: $10 File #:

 

 

1. Title and Number of Case:

Plumbers Local 130 etal. first named plaintiff

ee Nember:.d9:C¥: 667 0m
Starr Plumbing first named defendant

2. Name of corporation being served: Starr Plumbing

3. Title of court in which an action, suit or proceeding has been commenced: U.S.D.C for Northern Dist. Illinois
4. Title of instrument being served: Summons and Complaint

5, Basis for service on the Secretary of State: (check and complete appropriate box)

a. & The corporation’s registered agent cannot with reasonable diligence be found at the registered office of
record in Illinois.

b. 4 The corporation has failed to appoint and maintain a registered agent in Illinois.

c. 1 The corporation was dissolved on , ; the conditions

Month D Yi
of paragraphs (a) or (b) above exist; and the action, sult or proceeding has been instituted against or
has affected the corporation within five (5) years thereafter.

d. 4 The corporation's authority to transact business in Illinois has been withdrawn/revoked (circle one) on

Month Day Year
e. 44 The corporation is a foreign corporation that has transacted business in Illinois without procuring authority,
contrary to the provisions of the Business Corporation Act of 1983.

6. Address to which the undersigned will cause a copy of the attached process, notice or demand to be sent by certified
or registered mail:912 Norwood Drive, Melrose Park, IL 60160

 

fi The undersigned affirms, under penalties of perjury, that the facts stated herein are true, correct and complete.

- _ November 11 2019

Signature of Affiant Month Day Year
(312 ) 319-7608

Telephone Number

 

Return to (please type or print clearly):

 

 

Mike McGuire
Name

2 N. LaSalle Street, Suite 1650
Street

Chicago, IL 60602
City/Town State Zip
Printed by authority of the State of Illinois. January 2015 — 1 — C 213.11

 
